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                            United States District Court
                                      for the
                            Southern District of Florida

  Ari Teman, Plaintiff                   )
                                         )
  v.                                     )
                                           Civil Action No. 23-21361-Civ-Scola
                                         )
  The City of Miami Beach, et al.,       )
  Defendant.                             )

                 Order Providing Instructions To Pro Se Litigant
         This matter is before the Court upon an independent review of the
  record. Pro se litigants (i.e., parties not represented by counsel), like all
  litigants, must comply with the rules of civil procedure and the Court’s orders.
  Accordingly, the Court orders that Plaintiff Ari Teman, a pro se litigant, must
  comply with all Federal Rules of Civil Procedure and Local Rules for the
  Southern District of Florida. 1 Failure to comply with the federal and local rules
  may result in sanctions against the pro se litigant. Some of the requirements of
  these rules include:
         1. Every pleading, motion, memorandum, or other paper required and/or
  permitted to be filed with the Court must be filed directly with the Clerk of the
  Court. No letters, pleadings, motions, or other documents may be sent directly
  to the District Judge or Magistrate Judge’s chambers. Any papers improperly
  delivered directly to chambers may be returned and disregarded by the Court.
         2. All papers filed must include the case style, case number, and
  appropriate title in the format required by the Federal and Local Rules. See
  Fed. R. Civ. P. Form 1; S.D. Fla. L.R. 5.1. 2 The signature block of each pleading
  must also contain the pro se litigant’s name, address, e-mail address,
  telephone number and fax number.
         3. All papers filed with the Clerk of Court must also be served on the
  opposing counsel, or the opposing side if the opposing side is not represented
  by counsel. Each filing must include a certificate of service indicating the name
  and address of the attorney served.


  1 The Federal of Civil Procedure and Local Rules of the Southern District of
  Florida can be accessed from the Clerk of the Court’s website, available at:
  http://www.flsd.uscourts.gov.
  2 The sample form for documents filed with the Court may be accessed from

  the Clerk of the Court’s website, available at: http://www.flsd.uscourts.gov.
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         4. Litigants must promptly notify the Court of any change in address by
  filing a “Notice of Change of Address,” which also must be served on opposing
  counsel.
         5. A pro se litigant who wishes to oppose a motion must respond in
  writing within the time periods provided by the rules of procedure.
         6. Any litigant and his or her family, friends, or acquaintances may not
  call the Judge’s chambers for legal advice about the case. Brief case status
  information contained on the docket sheet may be available from the Clerk of
  Court. Additionally, pro se parties may access the Court’s electronic docket 3 at
  www.pacer.gov, or at a computer terminal provided, without charge, at any of
  the Clerk’s Office locations during the Court’s normal business hours.
         7. A pro se litigant bears responsibility for actively pursuing his or her
  case and must obtain any essential discovery, file all necessary pleadings and
  motions, comply with all scheduling orders, and prepare the case for trial.
        Done and ordered, at Miami, Florida, on April 17, 2023.


                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge

  Copies to: Ari Teman
  1521 Alton Road #888
  Miami Beach, FL 33139




  3 The Court’s e-docket is known as CM/ECF, which stands for Case
  Management/Electronic Case Filing system.
